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IN THE UNITED sTATEs DISTRICT cOURT j-"1!. = Da"
FoR THE wEsTERN DISTRICT oF TENNEssEE _
wEsTERN DIv;csIoN GE__;'!__§E\-;!gt; ;‘H 1325

 

  

UNITED sTATEs 0F AMERICA "`""D‘ 512 ‘"‘3
Plaintiff,

criminal NO. w’ - ,?0/7§1\/11

(BO-Day Continuance)

500 clay 0:,@/7

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The ease is currently set on the July,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Sentember 23. 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 24th day of June, 2005.

' 9
l’his document entered on the docket host in corrugch
with Rule 55 and/or 32(b) FRCrP on 12 g _2]2, z n

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SO ORDERED this 24th day of June, 2005.

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JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

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ja ¢zzw /@%-

Assistant United States Attorney

 

 

 

 

 

Counsel f r Defe a (s)

     

UNITED sTATE DRISTIC COUR - W'"ERNT D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20175 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

